













NUMBER 13-09-00082-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

T.W. LAQUAY DREDGING, INC., 	Appellant,


v.



ROEL CEPEDA,	Appellee. 

		____________________________________________________________


On appeal from the 103rd District Court 


of Cameron County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Rodriguez, and Benavides
Memorandum Opinion Per Curiam


	Appellant, T.W. Laquay Dredging, Inc., perfected an appeal from a judgment
entered by the 103rd District Court of Cameron County, Texas, in cause number
2006-12-5922-D.  Appellant has filed a motion to dismiss the appeal on grounds that the
appellant no longer wishes to pursue this appeal.  Appellant requests that this Court
dismiss the appeal.

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that the motion should be granted.  See Tex. R. App.
P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby DISMISSED. 
Costs will be taxed against appellant. See Tex. R. App. P. 42.1(d) ("Absent agreement of
the parties, the court will tax costs against the appellant.").  Having dismissed the appeal
at appellant's request, no motion for rehearing will be entertained, and our mandate will
issue forthwith.


									PER CURIAM

Memorandum Opinion delivered and 

filed this the 19th day of March, 2009. 





	


